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                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Mar 09, 2017
                                      Form ID: 822                       Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 11, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609
tr             +Sally Zeman,   Chapter 13 Trustee,   PO Box 1169,   Denver, CO 80201-1169
17527586        Citifinancial Servicing LLC,   605 Munn Rd E,   C/S Care Dept,    Fort Mill, SC 29715-8421
17527587       +Medved Dale Decker & Deere, LLC,   355 Union Boulevard, Ste. 250,    Denver, CO 80228-1508

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: wlgdnvr@wattongroup.com Mar 09 2017 23:36:45     Michael J. Watton,
                 700 N. Water St., Ste. 500,   Milwaukee, WI 53202
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 11, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 8, 2017 at the address(es) listed below:
              Michael J. Watton   on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman    mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1                 Judith Jean Schneider                                                  Social Security number or ITIN     xxx−xx−0318

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Colorado
                                                                                                Date case filed for chapter 13 3/8/17
Case number:          17−11810−MER



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/15


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Judith Jean Schneider

2. All other names used in the
   last 8 years
                                              4316 East 113th Place
3. Address                                    Thornton, CO 80233
                                              Michael J. Watton                                             Contact phone 414−273−6858
4. Debtor's  attorney
   Name and address
                                              700 N. Water St., Ste. 500
                                              Milwaukee, WI 53202

5. Bankruptcy trustee                         Sally Zeman                                                   Contact phone 303−830−1971
     Name and address                         Chapter 13 Trustee
                                              PO Box 1169
                                              Denver, CO 80201

6. Bankruptcy clerk's office                                                                                Hours open: Monday − Friday 8:00 − 4:30 PM
     Documents in this case may be filed      US Bankruptcy Court                                           Contact phone 720−904−7300
     at this address.                         US Custom House                                               Date: 3/9/17
     You may inspect all records filed in     721 19th St.
     this case at this office or online at    Denver, CO 80202−2508
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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Debtor Judith Jean Schneider                                                                                                    Case number 17−11810−MER

7. Meeting of creditors
     Debtors must attend the meeting to April 18, 2017 at 09:30 AM                                          Location:
     be questioned under oath. In a joint                                                                  Byron G. Rogers Federal Building, 1961 Stout
     case, both spouses must attend.       The meeting may be continued or adjourned to a later            Street, Suite 16−200, Room B, Denver, CO
     Creditors may attend, but are not    date. If so, the date will be on the court docket.               80294
     required to do so.
                                          Under Bankruptcy Rule 4002(b)(1)−(2), an individual
                                          debtor shall bring the following to the meeting of
                                          creditors:

                                            1) picture identification issued by a governmental unit,
                                            or other personal identifying information that
                                            establishes the debtor's identity AND evidence of a
                                            social security number OR a written statement that such
                                            documentation does not exist; and

                                            2) documents or copies of a) debtor's current income
                                            such as the most recent payment advice, pay stub, or
                                            earnings statement; and b) statements for each of the
                                            debtor's depository accounts (bank. credit union and
                                            investment) for the time period that includes the date of
                                            the filing of the petition OR a written statement that
                                            such documentation does not exist; and

                                            3) documentation of monthly expenses claimed if
                                            required under 11 U.S.C. §707(b)(2)(A) or (B).
8.   Deadlines                              Deadline to file a complaint to challenge                     Filing deadline: 6/19/17
     The bankruptcy clerk's office must     dischargeability of certain debts:
     receive these documents and any
     required filing fee by the following
     deadlines.                             You must file:
                                            • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                            • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                            Deadline for all creditors to file a proof of                 Filing deadline: 7/17/17
                                            claim (except governmental units):
                                            Deadline for governmental units to file a                     Filing deadline: 9/5/17
                                            proof of claim:


                                            Deadlines for filing proof of claim:
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.
                                            If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you
                                            must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                            proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                            can explain. For example, a secured creditor who files a proof of claim may surrender important
                                            nonmonetary rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                             Filing deadline:      30 days after the
                                            The law permits debtors to keep certain property as                                 conclusion of the
                                            exempt. If you believe that the law does not authorize an                           meeting of creditors
                                            exemption claimed, you may file an objection.


     The case trustee must receive these Deadline to provide documents:                                Filing deadline:        7 days before the
     documents by the following          You shall provide to the case trustee a copy of the federal                           meeting of creditors
     deadlines                           income   tax return required  under  applicable law, or a
                                         transcript of such return, for the most recent tax year
                                         ending immediately before the commencement of the
                                         case and for which a federal income tax return is filed, and
                                         provide the same tax information to creditors that
                                         requested a copy at least fourteen days prior to the
                                         meeting of creditors. See 11 U.S.C. § 521(e)2) and Fed.
                                         R. Bankr. P. 4002(b). You shall also file with the
                                         appropriate tax authorities tax returns that were to
                                         previously submitted and were required to be submitted
                                         under application law. 11 U.S.C. § 1308. The debtor's
                                         failure to comply will result in dismissal of the case unless
                                         the debtor demonstrates that the failure to comply is due
                                         to circumstances beyond the control of the debtor. See
                                         L.B.R. 1017−2.

9. Filing of plan                           The debtor has not filed a plan as of this date. A copy of the plan or summary will be sent
                                            separately. The hearing on confirmation will be held on:
                                            5/22/17 at 01:30 PM, Location: U.S. Custom House, 721 19th St., Courtroom C, Denver,
                                            CO 80202
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                                        Unless a written objection is filed, the plan may be confirmed an unopposed upon the filing of Verification of
                                        Confirmable Plan pursuant to Local Bankruptcy Rule (L.B.R.) 3015−1.

                                        The last day to file an objection to the plan is three court days before the date of the first scheduled meeting of
                                        creditors, pursuant to Bankruptcy Rules 2002(b) and 9006(c) and L.B.R. 3015−1. Objections to the plan must
                                        comply with L.B.R. 3015−1 and shall clearly specify the grounds upon which they are based, including the
                                        citiation of supporting legal authority, if any. General objections will not be considered by the Court. Objecting
                                        parties and the debtor should check the calendar of the Judge assigned to this case on the court's website to
                                        ascertain whether the hearing on confirmation will be conducted in person or by telephone and to obtain the
                                        necessary instructions for connecting by telephone.

                                        Parties objecting to confirmation and the debtor are obligated to meet and confer no later than seven days prior
                                        to the hearing on confirmation pursuant to L.B.R. 3015−1, and timely file a Certificate and Motion to Determine
                                        Notice in accordance with L.B.R. 3015−1(f) or 3015−1(g).
10. Case trustee's and                   The case Trustee or a creditor may file a report no later than seven days after the initial meeting of creditors
    Creditor's reports                   reporting the debtor's falure to comply with the requirements to provide tax returns. The Trustee may also use
                                         the report to supplement any initial objection to confirmation previously by the Trustee. The report shall allow
                                         the debtor fourteen days to file an objections and verification that the failure to comply was due to
                                         circumstances beyond the control of the debtor. Absent separate notice, any objection shall be heard at the
                                         time of the confirmation hearing.
11. Notice of possible dismissal You are hereby notified that if this case was filed as deficient, it is subject to the United States Trustee's
                                         Standing Motion to Dismiss under Local Bankruptcy Rule 1017−3(a)(3), and/or the dismissal provisions of 11
                                         U.S.C. § 521(i).
12. Creditors with a foreign             If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                              extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                         any questions about your rights in this case.
13. Filing a chapter 13                  Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                      according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                         plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                         later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                         hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                         unless the court orders otherwise.
14. Exempt property                      The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                         distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                         exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                         the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
15. Discharge of debts                   Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                         However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                         are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                         as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                         523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                         If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                         must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                         exemptions in line 8.


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